Case 5:25-cv-00951-PCP   Document 116-5   Filed 05/23/25   Page 1 of 3




                         Exhibit 5
          Case 5:25-cv-00951-PCP            Document 116-5          Filed 05/23/25   Page 2 of 3


 1 William Devaney (Pro Hac Vice pending)
   BAKER MCKENZIE LLP
 2 452 Fifth Avenue
   New York, NY 10018
 3 Tel: (212) 626 4100
   william.devaney@bakermckenzie.com
 4
   Andrew L. Black (Pro Hac Vice pending)
 5 BAKER MCKENZIE LLP
   815 Connecticut Avenue NW
 6 Washington, DC 20006
   Tel: (202) 452-7000
 7 andrew.black@bakermckenzie.com

 8 Byron Tuyay (CA Bar # 308049)
   BAKER MCKENZIE LLP
 9 10250 Constellation Boulevard
   Suite 1850
10 Los Angeles, California 90067
   Tel: (310) 201-4728
11 Byron.Tuyay@bakermckenzie.com

12 Attorneys for Gartner, Inc.

13

14                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
15                                        SAN JOSE DIVISION
16
     UNITED STATES OF AMERICA,                            CASE NO. 5:25-CV-00951-PCP
17

18                                 Plaintiff,             JUDGE: Hon. P. Casey Pitts
                                                          MAGISTRATE JUDGE: Susan van Keulen
19                          v.
                                                          [PROPOSED] ORDER DENYING PLAINTIFF’S
20   HEWLETT PACKARD ENTERPRISE CO.                       MOTION TO COMPEL COMPLIANCE WITH
     and JUNIPER NETWORKS, INC.                           SUBPOENA
21

22                                Defendants.

23

24

25          This matter is before the Court on Plaintiff United States of America and Non-Party Gartner, Inc.’s
26 Joint Statement Regarding Discovery Dispute. Upon consideration of the Joint Statement, the relevant
27 authorities cited therein and the Exhibits thereto, the Court finds that Plaintiff has not shown sufficient

28 cause for the production of the documents requested by the Subpoena dated March 27, 2025. Therefore,

                                 [PROPOSED] ORDER DENYING PLAINTIFF’S MOTION TO COMPEL
                                                CASE NO. 5:25-CV-00951-PCP
30
31
         Case 5:25-cv-00951-PCP        Document 116-5          Filed 05/23/25   Page 3 of 3


 1 it is hereby ORDERED that the Motion to Compel is denied.

 2 IT SO ORDERED.

 3 Dated: ___________ , 2025                           _________________________________
 4                                                     HONORABLE SUSAN VAN KEULEN
                                                       United States Magistrate Judge
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
27

28

                            [PROPOSED] ORDER DENYING PLAINTIFF’S MOTION TO COMPEL
                                           CASE NO. 5:25-CV-00951-PCP
30
31
